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results. Lacking the equipment to make a full assessment himself, he sent blood and tissue samples to
the CDC, which detected malaria, CDC records show.

According to emails released in response to a freedom of information request, analysts at the CDC
suggested the pair might have become infected on a fishing trip they had taken together in malarial
Zambia two weeks before they started to feel sick.

But when the cause of death was announced, colleagues of the dead men were immediately sceptical
that two people could die of malaria on the same night in the same motel. Five years on, their doubts
are reinforced.

Sam Wassmer, a malaria expert at the London School of Hygiene & Tropical Medicine who has
reviewed the documents obtained by the Financial Times, said that because of the multitude of factors
that determine the speed at which the disease develops over many days, “the likelihood of two separate
people developing the disease at the exact same time and dying the same night is almost certainly nil”.

The only remotely plausible scenario would be if both men had been bitten by the same mosquito, Mr
Wassmer said, but the CDC’s genetic analysis of the samples it received ruled that out.

Investigators at the SFO fear the samples may not have been reliable, according to a person familiar
with the investigation. Neither the local medical examiner nor a private coroner whom ENRC sent to
attend the autopsy could say whether any chain of custody procedure designed to safeguard evidence
had been followed.

The CDC did not respond to questions from the FT. The FBI did not comment. The SFO declined to
comment.

ENRC denies any wrongdoing. In 2019 it sued the SFO, accusing it of cooking up a scandal with the
corruption investigation in league with the company’s former lawyers, a Kazakh dissident and private
investigators. All those accused deny the allegations.

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